                                  Exhibit M




Case: 19-30088   Doc# 522-7   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 1
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Case: 19-30088   Doc# 522-7   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 2
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 B8                                                                                                                                    THE MODESTO BEE                                                                                                                                              FRIDAY, FEBRUARY 15, 2019

        Misc. Merchandise                                              Legals & Public Notices                                             Legals & Public Notices                                        Legals & Public Notices                              Change of Name                                  Change of Name
ELIMINATE       RATS       &  MICE-                             brary operational throughout the duration                             REQUEST FOR QUALIFICATIONS                                     ly 185,900 sq ft), an additional commodity      appear at the hearing to show cause why         tion that includes the reasons for the ob-
GUARANTEED! Buy Harris Baits, Traps,                            of the Project. Phase I will add approxi-                                                                                            barn (7,200 sq ft in size), & three addition-   the petition should not be granted. If no       jection at least two court days before the
Repellents                                                                                                                                 AND PROPOSALS FOR
Available: Hardware Stores                                      mately 4,500 square feet onto the south                                On-Call Estimating Services and                               al hay barns (each 9,600 sq ft in size). The    written objection is timely filed, the court    matter is scheduled to be heard and must
Buy Online: homedepot.com 800-637-                              side of the Library. The library expansion                            REQUEST FOR QUALIFICATIONS                                     project is located at 5201 Milnes Rd, on the    may grant the petition without a hearing.       appear at the hearing to show cause why
0317                                                            will include a grand entryway, a new cir-                                  AND PROPOSALS FOR                                         north side of Milnes Rd, between                NOTICE OF HEARING                               the petition should not be granted. If no
                                                                culation desk, an open and inviting child-                              On-Call Code Review Services                                 Langworth & Claus Rds, east of the City of      DATE: FEB 28 2019 AT 8:30AM IN                  written objection is timely filed, the court
              ANIMALS                                           ren’s area, a large multi-purpose / com-
                                                                munity room, new public restrooms, as
                                                                                                                                      REQUEST FOR QUALIFICATIONS
                                                                                                                                           AND PROPOSALS FOR
                                                                                                                                                                                                     Modesto. The Planning Commission will
                                                                                                                                                                                                     consider adoption of a CEQA Negative
                                                                                                                                                                                                                                                     DEPT. 22
                                                                                                                                                                                                                                                     ADDRESS OF THE COURT IS:
                                                                                                                                                                                                                                                                                                     may grant the petition without a hearing.
                                                                                                                                                                                                                                                                                                     NOTICE OF HEARING
                                                                well as enclosed gardens and courtyards.                              On-Call Civil Engineering Services                             Declaration for the project. APNs: 014-         SUPERIOR COURT OF CALIFORNIA                    DATE: MAR 01 2019 AT 8:30AM IN
                      Dogs                                      In addition, there will be several opportu-                                                                                          015-003                                         COUNTY OF STANISLAUS                            DEPT. 22
                                                                nities for Design-Build Teams to propose a                         Notice is hereby given that Stanislaus                                                                            801 10TH STREET, 6TH FLOOR                      ADDRESS OF THE COURT IS:
 AKC LAB PUPPIES, WHELPED 1/21,
  DEWED, BLK/YELLOW, $650 ($200                                 better value design and include additive                           County will receive proposals for on-call                         This NOTICE also serves as a NOTICE             MODESTO, CALIFORNIA 95354                       SUPERIOR COURT OF CALIFORNIA
     NON REFUNDABLE HOLD YOUR                                   alternates like core & shell space and fur-                        estimating services, on-call code review                          OF INTENT to adopt the following: Nega-         A COPY of this Order to Show Cause shall        COUNTY OF STANISLAUS
      CHOICE). Call: 209-648-1398                               ther expansion of the children’s area and                          services and on-call civil engineering                            tive Declaration. Review Period: Feb. 15,       be published at least once each week for        801 10TH STREET, 6TH FLOOR
AUSTRALIAN SHEPHERD MINI and TOY                                multi-purpose room. Phase II will be the                           services for Stanislaus County Capital                            2019, to March 20, 2019. All documents are      four successive weeks prior to the date set     MODESTO, CALIFORNIA 95354
Beautiful Puppies. Merle’s and Tri’s.                           renovation of the existing 10,000 square                                                                                             available for review at 1010 10th Street,       for hearing on the petition in the following    CITY TOWERS COURTHOUSE
Double blue eyes. ASDR $1200-$2000                                                                                                 Projects. The Request for Qualifications
Call or Text (209) 712-2683                                     foot Library to bring the building up to                           and Proposals (RFQ/P) packages may be                             Suite 3400, Modesto and online at               newspaper of general circulation, printed       A COPY of this Order to Show Cause shall
                                                                code and optimize the existing structure                           obtained from Stanislaus County Capital                           www.stancounty.com/planning/                    in this county: THE MODESTO BEE                 be published at least once each week for
         Pets Lost & Found                                      for important collections, a new teen                              Projects. Requests for the RFQ/P pack-                                                                            DATE: 1/9/19                                    four successive weeks prior to the date set
                                                                space as well as administration needs.                             ages may be directed to Stanislaus County                         At above noticed time and place, interest-      /s/ STACY P. SPEILLER                           for hearing on the petition in the following
LOST Amazon Red Head Parrot                                     The Request for Statements of Qualifica-                           Capital Projects by phone (209) 525-4380 or                       ed persons will be given an opportunity to      Judge of the Superior Court                     newspaper of general circulation, printed
REWARD Modesto 209-601-3757
                                                                tion (RFSOQ) Packages may be obtained                              by fax (209) 525-4384. Responses are due                          be heard. Material submitted to Commis-         MOD-4052751 1/25, 2/1, 8, 15                    in this county: THE MODESTO BEE
                                                                from Stanislaus County Capital Projects                            no later than 4:00 PM,                                            sion for consideration (i.e. photos, peti-                                                      DATE: 1/11/19
        RECREATION                                              free of charge, at 1010 10th St., Ste. 2300,
                                                                Modesto, CA 95354. Requests for the
                                                                                                                                   March 15, 2019, to Stanislaus County,                             tions, etc.) will be retained by the County.
                                                                                                                                                                                                     If a c  hallenge to above application is
                                                                                                                                                                                                                                                     ORDER TO SHOW CAUSE
                                                                                                                                                                                                                                                     FOR CHANGE OF NAME
                                                                                                                                                                                                                                                                                                     /s/ STACY P. SPEILLER
                                                                                                                                                                                                                                                                                                     Judge of the Superior Court
                                                                                                                                   Attn: Patricia Hill Thomas, 1010 10th St,
                                                                RFSOQ Packages may be directed by                                                                                                    made in court, persons may be limited to        CASE NUMBER: CV19000091                         MOD- 4078701 2/8, 15, 22, 3/1
      Camping/Motorhomes                                        phone 209-525-4380 or by fax 209-525-4384 or
                                                                                                                                   Ste 6800, Modesto, CA 95354.
                                                                                                                                                                                                     raising only those issues they or someone       SUPERIOR COURT OF CALIFORNIA
                                                                                                                                   MOD- 4081339 2/13, 14, 15
   ALL CONSIGNMENTS WANTED
     Toscano RV 209-826-2488
                                                                e-mail to vandrvnt@stancounty.com.
                                                                Statements of Qualification are due no lat-                               NOTICE OF PUBLIC HEARING
                                                                                                                                                                                                     else raised at the public hearing described
                                                                                                                                                                                                     in this notice, or in written correspond-
                                                                                                                                                                                                                                                     COUNTY OF STANISLAUS
                                                                                                                                                                                                                                                     801 10TH STREET, 4TH FLOOR
                                                                                                                                                                                                                                                                                                                Do it
                                                                                                                                                                                                                                                                                                              yourself
                                                                er than 2:00 PM, March 26, 2019, to Stani-                                                                                           ence delivered to the Commission. For           MODESTO, CALIFORNIA 95354
       Best Service Department
     Huge Discounts on new RV’s                                 slaus County Chief Executive Office.                               Stanislaus County Planning Commission                             further information please call (209) 525-


                                                                                                                                                                                                                                                                                                                ads!
                                                                MOD- 4081356 2/13, 1, 15                                           will hold a meeting on THURS, APRIL 4,                            6330, Stanislaus County Planning & Com-         PETITION OF: CHRISTINA CHAVOUS
                                                                                                                                   2019, at 6:00 PM, Joint Chambers, Base-                           munity Development.                             PATTERSON ON BEHALF OF ERIC
     WANTED: Motorhomes, travel                                                                                                    ment Level,1010 10th St., Modesto, CA, to                                                                         CHAVOUS LEYVA, A MINOR, FOR
  trailers, RVs, cars, trucks. Top dollar                                         AS EASY AS 1-2-3                                                                                                   MOD-4087407 2/15
    cash on the spot. Beat any price.                                            1) Gather unused items                            consider: UP APP NO. PLN2015-0097 –                                                                               CHANGE OF NAME
                                                                                 2) Place a Classified                             ART SILVA DAIRY – Request to in-                                                                                  TO ALL INTERESTED PERSONS:
             559-790-1582                                                           ad to sell them                                                                                                              PUBLIC NOTICE
                                                                                 3) Count the money                                crease the number of permitted cows                               Please take notice that the Board of Direc-     Petitioner: CHRISTINA CHAVOUS PAT-
                                                                                     you’ve made                                   from 643 mature cows to 1,100 mature                              tors of the Patterson Irrigation District       TERSON filed a petition with this court
                                                                                                                                                                                                                                                                                                            Now you can write your own
       AUTOMOTIVE                                                                   Bee Classified
                                                                                        521-7777
                                                                                                                                   cows (consisting of 920 milking cows & 180
                                                                                                                                   dry cows) & from 390 support stock to 861
                                                                                                                                                                                                     (“PID”) has approved and/or anticipates         for a decree changing names as follows:
                                                                                                                                                                                                                                                     PRESENT NAME                                            classiﬁed ad, schedule it to
                                                                                                                                                                                                     approving water transfers totaling up to
                                                                                                                                   support stock. The project also proposes                                                                          ERIC CHAVOUS LEYVA                                     appear in the paper and on
               Automobiles                                                                                                         to construct four freestall barns to cover
                                                                                                                                                                                                     22,500 acre feet, or up to what would be ap-
                                                                                                                                                                                                                                                     TO                                                     modbee.com and pay for it
                                                                                                                                                                                                     proximately of what a 100% allocation of
   CHRYSLER ’ 08 PT Cruiser 114k mi,                                                                                               existing open pens (totaling approximate-                                                                         PROPOSED NAME
     AC loaded, clean #125716 $2995
                                                                                                                                                                                                     PID’s water under its Central Valley Proj-
                                                                                                                                                                                                                                                     ERIC RODRIGUEZ CHAVOUS
                                                                                                                                                                                                                                                                                                            all at once - 24 hours a day!
                                                                                                                                                                                                     ect water supply contract with the United
     Modesto Whls 10th & O 521-5705                                    Legals & Public Notices                                             Legals & Public Notices                                   States Bureau of Reclamation for water          THE COURT ORDERS that all persons in-                     Visit Bee Classiﬁed on
       CHRYSLER ’12 200 , AT, AC,                                                                                                                                                                                                                    terested in this matter shall appear before                    modbee.com
    loaded, runs great #22483 $5488                                                          United States Bankruptcy Court for the Northern District of California                                  year 2019-2020 plus PID’s San Joaquin Riv-
     Modesto Whls 10th & O 521-5705                                                                                                                                                                  er Settlement Water supply. PID antici-         this court at the hearing indicated below
                                                                 Debtors: PG&E Corporation and Paciﬁc Gas and Electric Company                                                                                                                       to show cause, if any, why the petition for
 DODGE ’06 Stratus SXT, 106k mi, AT,                             Datecasesﬁledinchapter11: 01/29/2019                                                                                                pates this water transfer going to the Del
     AC, clean, nice car #40589 $3500                                                                                                                                                                Puerto Water District, Westlands Water          change of name should not be granted.
     Modesto Whls 10th & O 521-5705                              Casenumber: 19-30088(DM)(LeadCase;JointlyAdministered)
                                                                                                                                                                                                     District, Panoche Water District, San Luis      Any person objecting to the name changes
     FIAT 2012 500 , htchbck, lo mi,                             Notice of Chapter 11 Bankruptcy Cases
     sporty AC, 5spd, #114024 $3995                                                                                                                                                                  Water District, Santa Clara Valley Water        described above must file a written objec-
                                                                     For the debtors listed above,cases have been ﬁled under chapter 11 of the Bankruptcy Code and orders for relief have been
     Modesto Whls 10th & O 521-5705                              entered.Thisnoticehas important informationabout the cases forcreditors,debtors,and trustees,includinginformation about
  FORD ’06 Taurus SE V6 AT, AC 118k                              themeetingofcreditorsanddeadlines.
                                                                                                                                                                                                     District or Kern-Tulare Water District.
                                                                                                                                                                                                     The Transfers encompassed in this notice
                                                                                                                                                                                                                                                                  Foreclosure                                     Foreclosure
   mi, great family car #250319 $3495                                The ﬁling of the cases imposed an automatic stay against most collection activities.This means that creditors generally may
     Modesto Whls 10th & O 521-5705                                                                                                                                                                  are valid from March 1, 2019 through Feb-       NOTICE OF TRUSTEE’S SALE UNDER DEED OF TRUST LOAN:
                                                                 not take action to collect debts from the debtors or the debtors’ property. For example, while the stay is in effect, creditors
     HONDA ’01 CRV 4WD, AT, AC runs                              cannot sue, assert a deﬁciency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand           ruary 29, 2020. Environmental review of         8580022800/AMERICAN TRADERS OTHER: 91212114 T.S. #: 18129-PB NOTE: THERE
      great, closeout #048240 $3500                              repayment from the debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and           the transfers has been completed, but ap-       IS A SUMMARY OF THE INFORMATION IN THIS DOCUMENT ATTACHED.*
     Modesto Whls 10th & O 521-5705                              punitivedamagesandattorney’sfees.                                                                                                   proval of the Secretary of the Interior is
   HONDA 2008 Accord 4DR LX-P AT,                                                                                                                                                                                                                    *PURSUANT TO CIVIL CODE Section 2923.3(a), THE SUMMARY OF INFORMATION
     AC, loaded clean #095889 $6495                                  Conﬁrmation of a chapter 11 plan may result in a discharge of debt.A creditor who wants to have a particular debt excepted      required. This transfer is authorized un-       REFERRED TO ABOVE IS NOT ATTACHED TO THE RECORDED COPY OF THIS
     Modesto Whls 10th & O 521-5705                              from discharge may be required to ﬁle a complaint in the bankruptcy clerk’s ofﬁce within the deadline speciﬁed in this notice.      der section 3405(a) of the Central Valley
                                                                 (Seeline11belowformoreinformation.)                                                                                                                                                 DOCUMENT, BUT TO THE COPIES PROVIDED TO THE TRUSTOR. YOU ARE IN
HONDA CR-V 2015 EX 2.4L Gray/Tan                                                                                                                                                                     Project Improvement Act (Title 34 of Pub-       DEFAULT UNDER A DEED OF TRUST DATED 10/17/2016. UNLESS YOU TAKE AC-
automatic, 32,741 mi, AWD, 4 cyl, clear                              To protect your rights,consult an attorney.All documents ﬁled in the cases may be inspected at the bankruptcy clerk’s ofﬁce
                                                                 attheaddressbeloworthroughPACER(PublicAccesstoCourtElectronicRecordsatwww.pacer.gov).                                               lic Law 102-575), and in accordance with        TION TO PROTECT YOUR PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE. IF
title, first owner, $9,800 424-263-9556
                                                                     The staff of the bankruptcy clerk’s ofﬁce cannot give legal advice. Do not ﬁle this notice with any proof of                    the terms and conditions of PID’s CVP           YOU NEED AN EXPLANATION OF THE NATURE OF THE PROCEEDING
   JEEP ’07 Liberty 4x4 AT, AC 3.7 V6,
      loaded, clean #694835 $4995                                claimorotherﬁlinginthecases.                                                                                                        water service contract. Because this            AGAINST YOU, YOU SHOULD CONTACT A LAWYER. NOTICE is hereby given that
     Modesto Whls 10th & O 521-5705                                  1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale Street, P.O. Box 77000, San                 transfer could result in the transfer of        REDWOOD TRUST DEED SERVICES, INC., as trustee, or successor trustee, or substi-
  JEEP 2008 Commander limited 4x4                                Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Paciﬁc Gas and Electric Company, 77 Beale Street, P.O. Box 77000,           more than 20 percent of PID’s contract
                                                                 San Francisco,California 94177,19-30089 (DM),XX-XXXXXXX.                                                                                                                            tuted trustee pursuant to the Deed of Trust executed by AMERICAN TRADERS, INC., a
  5.7hemi loaded, 1-owner, #205885                                                                                                                                                                   supply, this notice is provided in accord-
     Modesto Whls 10th & O 521-5705                                  2. All other names used in the last 8 years: n/a                                                                                                                                California corporation, recorded on 11/2/2016 as Instrument No. 2016-0086653-00 in Book
     SATURN ’06 ION 3 4dr, AT, AC,                                   3. Address: See above                                                                                                           ance with the water transfer provisions of      —, Page — of Official Records in the office of the County Recorder of STANISLAUS
 4cyl, gas saver clean #692993 $3500                                 4. Debtors’ Attorneys: Tobias S. Keller (#151445), KELLER & BENvENUTTi LLP, 650 California Street, Suite 1900, San              section 3405(a)(2)(B) of the CVPIA.             County, California, and pursuant to the Notice of Default and Election to Sell thereunder
     Modesto Whls 10th & O 521-5705                              Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice), WEiL, GOTSHAL & MANGES LLP, 767 Fifth Avenue, New York, NY               Members of the public are invited to sub-       recorded 10/30/2018 in Book -, Page --, as Instrument No. 2018-0075429-00 of said Official
          THOMPSON CHEVROLET                                     10153. Debtors’ Claims and Noticing Agent: If you have questions about this notice, please contact Prime Clerk                      mit comments, ask questions or provide          Records, WILL SELL on 3/8/2019 At the "I" Street entrance to the County Courthouse
           521-1354 OR 892-3311                                  LLC. Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email: pgeinfo@primeclerk.com.                           relevant information concerning the pro-
TOYOTA Prius 2012 $11,100; White/                                Website: https://restructuring.primeclerk.com/pge                                                                                                                                   Building, 1100 "I" Street, Modesto, CA 95350 at 12:00 PM AT PUBLIC AUCTION TO THE
Gray One owner. Very good condition.                                 5. Bankruptcy clerk’s ofﬁce: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail Box 36099, San Francisco, CA                   posed transfer described in this notice.        HIGHEST BIDDER FOR CASH (payable at the time of sale in lawful money of the Unit-
Blue tooth. 63,900mi; OBO 209-669-                               94102.Hours open:Monday-Friday, 9 a.m.- 4:30 p.m.(CT).Contact phone:888-821-7606.Documents in these cases may                       The deadline for responding to this notice      ed States), all right, title and interest conveyed to and now held by it under said Deed of
1408.                                                            be ﬁled at this address.You may inspect all records ﬁled in these cases at this ofﬁce or online at www.pacer.com.                   shall be March 17, 2019 . Comments              Trust in the property situated in said County and State hereinafter described: A
  VOLVO 2004 C70 Convert, 61k mi,                                    6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Location: Phillip Burton Federal                     should be mailed to the following:              LEASEHOLD ESTATE AS DESCRIBED IN THAT DOCUMENT ENTITLED ASSIGN-
   1 owner, closeout #41036 $6500                                Building and U.S.Courthouse, 450 Golden Gate Avenue, 2nd Floor, California Conference Room, San Francisco, CA 94102.The
     Modesto Whls 10th & O 521-5705                              debtors’representative must attend the meeting to be questioned under oath.Creditors may attend, but are not required to                                                            MENT AND ASSUMPTION AGREEMENT (MODESTO GROUND SUBLEASE) RE-
                                                                                                                                                                                                         Vince Lucchesi, General Manager             CORDED JUNE 24, 2013 AS INSTRUMENT 2013-0053876-00 OF OFFICIAL RECORDS.
                                                                 do so. The meeting may be continued or adjourned to a later date.if so,the date will be on the court docket.
              Trucks & Vans                                          7. Proof of claim deadline: Deadline for ﬁling proof of claim: To Be Determined. A proof of claim is a signed                          Patterson Irrigation District            AS TO THE LEASEHOLD INTEREST ONLY - Real property in the City of Modesto,
                                                                 statement describing a creditor’s claim. A proof of claim form may be obtained at www.uscourts.gov or any bankruptcy                           Post Office Box 685                  County of Stanislaus, State of California, described as follows: PARCEL ONE: PAR-
  FORD ’01 F150 Lariat Super crew                                clerk’s ofﬁce.Your claim will be allowed in the amount scheduled unless: • your claim is designated as disputed, contingent,                Patterson, California 95363             CEL 21 AS SHOWN ON THAT CERTAIN PARCEL MAP FILED FEBRUARY 7, 1989 IN
  4dr, V8 , runs grt #A86346 $4500                               or unliquidated; • you ﬁle a proof of claim in a different amount;or • you receive another notice.If your claim is not scheduled              Phone: (209) 892-6233
  Modesto Whls 10th & O 521-5705                                                                                                                                                                                                                     BOOK 41 OF PARCEL MAPS, AT PAGE 56, STANISLAUS COUNTY RECORDS. PAR-
                                                                 or if your claim is designated as disputed,contingent,or unliquidated,you must ﬁle a proof of claim or you might not be paid                  Fax: (209) 892-4013
                                                                 on your claim and you might be unable to vote on a plan.You may ﬁle a proof of claim even if your claim is scheduled.You                                                            CEL TWO: A PRIVATE UTILITY EASEMENT OVER PARCEL 23 IN VOLUME 41 OF

      LEGAL NOTICES                                              may review the schedules at the bankruptcy clerk’s ofﬁce or online at www.pacer.gov.Secured creditors retain rights in their
                                                                 collateral regardless of whether they ﬁle a proof of claim. Filing a proof of claim submits a creditor to the jurisdiction of the   Dated: February 15, 2019
                                                                                                                                                                                                                                                     PARCEL MAPS, AT PAGE 56, DISCLOSED BY DOCUMENT RECORDED FEBRU-
                                                                                                                                                                                                                                                     ARY 7, 1989, AS INSTRUMENT NO, 8403, STANISLAUS COUNTY RECORDS. PARCEL
                                                                 bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who ﬁles a proof of claim may             By: _____________________________               THREE: AN EASEMENT FOR PARKING OVER PARCEL 22 IN VOLUME 41 OF
      Legals & Public Notices                                    surrender important nonmonetary rights,including the right to a jury trial.
                                                                     8. Exception to discharge deadline: You must start a judicial proceeding by ﬁling a complaint if you want to have a
                                                                                                                                                                                                            Toni Russell, Secretary                  PARCEL MAPS, AT PAGE 56, DISCLOSED BY DOCUMENT RECORDED FEBRU-
                                                                                                                                                                                                            Patterson Irrigation District            ARY 7, 1989 AS INSTRUMENT NO. 8404, STANISLAUS COUNTY RECORDS. PARCEL
         REQUEST FOR                                             debt excepted from discharge under 11 U.S.C.§ 1141(d)(6)(A).The bankruptcy clerk’s ofﬁce must receive a complaint and any           MOD-4081591 2/15
                                                                 requiredﬁlingfeebythefollowingdeadline. Deadlineforﬁlingthecomplaint:ToBeDetermined                                                                                                 FOUR: NON-EXCLUSIVE EASEMENTS FOR INGRESS, EGRESS, UTILITIES AND
STATEMENTS OF QUALIFICATION                                          9. Creditors with a foreign address: if you are a creditor receiving notice mailed to a foreign address, you may ﬁle a                                                          FOOTINGS, AS MORE PARTICULARLY DESCRIBED AND SET FORTH IN THAT
     Turlock Library Project                                     motion asking the court to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy                                                          CERTAIN OPERATION AND EASEMENT AGREEMENT (SOUTH) FOR CENTRAL

Notice is hereby given that Stanislaus
                                                                 law if you have any questions about your rights in these cases.
                                                                     10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or liquidate according to a plan.A                  LEGALS OTHER                               VALLEY PLAZA, DATED DECEMBER 16, 1988, BY AND BETWEEN CENTRAL VAL-
                                                                                                                                                                                                                                                     LEY ASSOCIATES, A CALIFORNIA LIMITED PARTNERSHIP, AND LILJENQUIST
County will receive statements of qualifi-                       plan is not effective unless the court conﬁrms it.You may receive a copy of the plan and a disclosure statement telling you                                                         MODESTO COMPANY, A UTAH LIMITED PARTNERSHIP, RECORDED FEBRU-
cation from Design-Build teams for the                           about the plan,and you may have the opportunity to vote on the plan.You will receive notice of the date of the conﬁrmation
                                                                 hearing,and you may object to conﬁrmation of the plan and attend the conﬁrmation hearing.Unless a trustee is serving,the
                                                                                                                                                                                                               Change of Name                        ARY 7, 1989, AS INSTRUMENT NO. 8397, STANISLAUS COUNTY RECORDS. PARCEL
Turlock     Public     Library     Project                       debtors will remain in possession of the property and may continue to operate their business.                                                                                       FIVE: NON-EXCLUSIVE EASEMENTS FOR PARKING, INGRESS AND EGRESS, AS
(“Project”) at 550 N. Minaret Avenue,                                                                                                                                                                ORDER TO SHOW CAUSE
                                                                     11. Discharge of debts: Conﬁrmation of a chapter 11 plan may result in a discharge of debts, which may include all                                                              MORE PARTICULARLY DESCRIBED AND SET FORTH IN THAT CERTAIN PARK-
Turlock, CA. The Project consists of de-                         or part of your debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the          FOR CHANGE OF NAME
                                                                                                                                                                                                                                                     ING AREA AGREEMENT, DATED JUNE 4, 1982, BY AND BETWEEN LILJENQUIST
sign and construction to expand and reno-                        debtors except as provided in the plan. if you want to have a particular debt owed to you excepted from the discharge               CASE NUMBER: CV19000020
                                                                                                                                                                                                                                                     MODESTO CO., A LIMITED PARTNERSHIP, AND SAGA PROPERTY MANAGE-
vate the Turlock Branch Library and the                          under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by ﬁling a complaint and paying the ﬁling fee in the          SUPERIOR COURT OF CALIFORNIA
                                                                 bankruptcy clerk’s ofﬁce by the deadline.                                                                                                                                           MENT CORPORATION, A CALIFORNIA CORPORATION, RECORDED JUNE 8, 1982
work will be phased in order to keep the li-                                                                                                                                                         COUNTY OF STANISLAUS
                                                                                                                                                                                                                                                     IN BOOK 3564, PAGE 544, STANISLAUS COUNTY RECORDS. APN: 005-053-034 Benefi-
                                                                                                                                                                                                     801 10TH STREET, 6TH FLOOR
                                                                                                                                                                                                                                                     ciary hereby elects to conduct a Unified Foreclosure Sale pursuant to the provisions of
                                                                                                                                                                                                     MODESTO, CALIFORNIA 95354
                                                                                                                                                                                                                                                     California Commercial Code Section 9604 (a)(1), et seq., and to include in the non-
                                                                                                                                                                                                                                                     judicial foreclosure of the real property, interest described in the UCC Financing State-

      EVERY 2018 & 2019                                                                                                                                                                              PETITION OF: MOLICA SOULINHO
                                                                                                                                                                                                     TO ALL INTERESTED PERSONS:
                                                                                                                                                                                                     Petitioner: MOLICA SOULINHO filed a
                                                                                                                                                                                                                                                     ment filed with the Secretary of State on 06/23/2016 as #16-7532573473. All Equipment,
                                                                                                                                                                                                                                                     Chattel Paper, Inventory, Accounts and General Intangibles; that certain leasehold es-
                                                                                                                                                                                                                                                     tate and all of Debtor’s right, title and interest in, to and under that certain Lease and
                                                                                                                                                                                                     petition with this court for a decree
                                                                                                                                                                                                                                                     amendments thereto, (collectively, the "Ground Lease") Ground Sublease dated Febru-
                                                                                                                                                                                                     changing names as follows:
                                                                                                                                                                                                                                                     ary 22, 1989, between Central Valley Associates, a California limited partnership
                                                                                                                                                                                                     PRESENT NAME
                                                                                                                                                                                                                                                     ("Sublessor"), and The Rim Corporation, a California corporation ("Rim Corp."), as dis-
                                                                                                                                                                                                     MOLICA SOULINHO
                                                                                                                                                                                                                                                     closed by that certain Short Form of Lease dated April S, 1989, and recorded in the Offi-
                                                                                                                                                                                                     TO




              0% FOR 72
                                                                                                                                                                                                                                                     cial Records of Stanislaus County, California (the "Official Records’), on April 19,1989 as
                                                                                                                                                                                                     PROPOSED NAME
                                                                                                                                                                                                                                                     Instrument No. 027775 (collectively, the "Original Ground Sublease"). Rim Corp.’s inter-
                                                                                                                                                                                                     MOLLIE MOLICA SOULINHO
                                                                                                                                                                                                                                                     est in the Original Ground Sublease was assigned to Mallard’s Inn Investors’ Group, a
                                                                                                                                                                                                     THE COURT ORDERS that all persons in-
                                                                                                                                                                                                                                                     California limited partnership ("Mallard") pursuant to that certain Assignment of
                                                                                                                                                                                                     terested in this matter shall appear before
                                                                                                                                                                                                                                                     Ground Sublease dated August 22, 1989, and recorded in the Official Records an January
                                                                                                                                                                                                     this court at the hearing indicated below
                                                                                                                                                                                                                                                     26, 1990 as instrument No. 007954. The Original Ground Sublease was amended pursuant
                                                                                                                                                                                                     to show cause, if any, why the petition for

                       A.P.R.                                                                                                          MONTHS
                                                                                                                                                                                                                                                     to that certain unrecorded First Amendment to Ground Sublease dated January 18,1990,
                                                               ON CREDIT APPROVAL                                                                                                                    change of name should not be granted.
                                                                                                                                                                                                     Any person objecting to the name changes
                                                                                                                                                                                                                                                     by and between Sublessor and Mallard (the "First Amendment"). As used in this Exhibit
                                                                                                                                                                                                                                                     A, "Ground Sublease" means, collectively, the Original Ground Sublease and the First
                                                                                                                                                                                                     described above must file a written objec-
                                                                                                                                                                                                                                                     Amendment. Pursuant to an Assignment and Assumption of Agreements dated as of Oc-
                                                                                                                                         EVERY                                                       tion that includes the reasons for the ob-
                                                                                                                                                                                                     jection at least two court days before the
                                                                                                                                                                                                                                                     tober 1, 1997, The Rim Hotel Group LLC, a California limited liability company ("Rim
                                                                                                                                                                                                                                                     Hotel Group"), acquired all of Mallard’s right, title and interest in and to the Ground
                                                                                                              New 2018                       LaCrosse                                                matter is scheduled to be heard and must
                                                                                                                                                                                                                                                     Sublease. Rim Hotel Group’s interest in the Ground Sublease was assigned to Rim Prop-
                                                                                                                                                                                                          Legals & Public Notices


                                                                                                             10,000 OFF
                                                                                                                                                                                                                                                     erty One LLC, a California limited liability company ("Rim Property"), pursuant to that
                                                                                                                                                                                                                                                     certain Assignment of Ground Lease and Grant Deed dated January 14, 1998, and re-
         LaCrosse Encore En ision Encla e Regal To r
                                                                                                         $
                                                                                                                                                                                                            NOTICE OF PETITION TO                    corded on January 23, 1998 as Instrument No. XX-XXXXXXX. Rim Property’s interest in the
                                                                                                                                                                                                           ADMINISTER ESTATE OF                      Ground Sublease was assigned to RCEP/Windsor Modesto Venture, LP., a Delaware
                                                                                                                                                                                                              CLARENCE WILSON
                                                                                                                                                                                                                                                     limited partnership ("RCEP"). pursuant to that certain Assignment, Assumption and
                                                                                                                                                                                                          CASE NUMBER: PR-19-000097
      New 2018           Sierra Crew                                                                                                                                                                                                                 Consent Agreement dated August 11, 2005, and recorded in the Official Records on Au-

                                                                                                                                                            OFF MSRP                                 To all heirs, beneficiaries, creditors, con-    gust 16, 2005 as Instrument No. 2005-0145042-00. RCEP’s interest in the Ground Sublease
                                                                                                                                                                                                                                                     was granted to GCCFC 2005-GG5 Sisk Road Limited Partnership, a Delaware limited
                1500 All Terrain                                                                                                                                                                     tingent creditors, and persons who may
                                                                                                                                                                                                     be otherwise interested in the will or es-      partnership ("GCCFC") pursuant to that certain Trustee’s Deed Upon Sale dated De-



          10,431 OFF
                                                                                                                                                                                                     tate, or both of                                cember 16, 2010, and recorded in the Official Records on January 5, 2011 as Document

      $
                                                                                                                                                                                                     CLARENCE WILSON                                 No, 2011-0000799-00. GCCFC’s interest in the Ground Sublease was assigned to American
                                                                                                                                                                                                                                                     Traders, Inc., a California corporation ("Sublessee"), pursuant to that certain Assign-
                                                                                                                                                                                                     A PETITION FOR PROBATE has been
                                                                                                  New 2018                                      Canyon Crew                                          filed by ANNA M. WILSON in the Supe-
                                                                                                                                                                                                     rior Court of California, County of
                                                                                                                                                                                                                                                     ment and Assumption Agreement dated June 19, 2013, and recorded in the Official Re-
                                                                                                                                                                                                                                                     cords on June 24, 2013 as Document No. 2013-0053876-00. Sublessee is the "Tenant" under
                                                                                                                                                                                                     Stanislaus.                                     the Ground Lease as of June_, 2016. The term "Ground Lease" also includes that certain
                                                                                                                                                                                                                                                     Ground Lease dated_, 2015, by and between Liljenquist Modesto Company, a California
                                                                                                     V6, Rear Camera,                                                                                THE PETITION FOR PROBATE re-                    limited partnership, as "Landlord", and Sublessee, as "Tenant". which Ground Lease re-
                                                                                                   Tow Package, Android                                                                              quests that ANNA M. WILSON be ap-               lates to a certain tract or parcel of land located in the County of Stanislaus, State of Cal-
                                                                                                   Auto & Apple CarPlay.                                                                             pointed as personal representative to ad-       ifornia (the "Real Property"), and more particularly described in Exhibit B attached
                                                                                                                                                                                                     minister the estate of the decedent.
                                                                                                    1 At This Low Price.                                                                                                                             hereto, together with all existing or subsequently erected or affixed buildings, improve-
                                                                                                          #101808                                                                                    THE PETITION requests the decedent's            ments and fixtures; all leasehold estate, right, title and interest of Debtor in and to all
                                                                                                                                                                                                     will and codicils, if any, be admitted to       leases or subleases covering the Real Property, the improvements thereon, or any por-
                                                                                                                                                                                                     probate. The will and any codicils are          tion thereof now or hereafter existing or entered into; all easements, rights of way and




                                                                                                                   295
                                                                                                                                                                                                     available for examination in the file kept      appurtenances; all water, water rights and ditch rights (including stock in utilities with
                                                              54,920
                                                                                                         $
                                        MSRP               $                                                                                                                                         by the court.                                   ditch or irrigation rights); and all other rights, royalties and profits derived from any of
          SLT, Dual Skyscape Bonander                                                                                                                                                                                                                the foregoing, including without limitation all minerals, oil, gas, geothermal and similar
                                                             - 3,294
                                                 $                                                                                                                                                   THE PETITION requests authority to
       Sunroof, Navigation, V6, Discount                                                                                                                                                             administer the estate under the Inde-           matters; whether any of the foregoing is owned now or acquired later; all accessions,
                                                                                                                                                                                                                                                     additions, replacements and substitutions relating to any of the foregoing; all records of
       Leather, Rear Cross Traf-                                                                                                                                                                     pendent Administration of Estates
                                                                                                                                                                                                     Act.(This authority will allow the person-      any kind relating to any of the foregoing; all proceeds relating to any of the foregoing
        c Alert, Power Liftgate, Net Sale
       OnStar WiFi 4G LTE and Price
                                             $
                                                               51,626                                                                                                                                al representative to take many actions          (including insurance, general intangibles and other accounts proceeds) No warranty is

              Much More!         GM  Rebates $ -
                                                                6,038                                  Per Mont , Pl s Ta On                                                                         without obtaining court approval. Before
                                                                                                                                                                                                     taking certain very important actions,
                                                                                                                                                                                                                                                     made that any or all of the personal property still exists or is available for the success-
                                                                                                                                                                                                                                                     ful bidder and no warranty is made as to the condition of any of the personal property,
          1 At This Low Price. GM Bonus
                #162117          Cash
                                             $ -
                                                                1,098                               Cre it A ro al 3 Mo. Lease                                                                       however, the personal representative will
                                                                                                                                                                                                     be required to give notice to interested
                                                                                                                                                                                                     persons unless they have waived notice
                                                                                                                                                                                                                                                     which will be sold "as is", "where is". The property address and other common designa-
                                                                                                                                                                                                                                                     tion, if any, of the real property described above is purported to be: 1720 Sisk Road,
                                                                                                  $295 per month plus tax = $319 per month total payment; 36 month                                   or consented to the proposed action.)           Modesto, CA The undersigned Trustee disclaims any liability for any incorrectness of


               $
                      44,489
      Net                                                                                           lease through GM Financial on credit approval. $30,298 cap cost;                                 The independent administration autho-           the property address and other common designation, if any, shown herein. If no street
      Sale                                                                                       5.26% APR. $2,400 customer cash due at signing plus $1500 GM Select                                 rity will be granted unless an interested       address or other common designation is shown, directions to the location of the property
   Price...                                                                                       Market CCR and $1,500 Lease Loyalty or Lease Conquest. (Must be
                                                                                                                                                                                                     person files an objection to the petition       may be obtained by sending a written request to the undersigned within 10 days of the
                                                                                                                                                                                                     and shows good cause why the court              date of first publication of this Notice of Sale. The property heretofore described is be-
                                                                                                   currently leasing to qualify) 10k miles per year; 25¢ per additional                              should not grant the authority.                 ing sold "as is". The total amount of the unpaid balance of the obligation secured by the
                                                                                                                    mile. Subject to credit approval.                                                                                                property to be sold and reasonable estimated costs, expenses and advances at the time
                                                                                                                                                                                                     A HEARING ON THE PETITION WILL
                                                                                                                                                                                                     BE HELD IN THIS COURT AS FOL-                   of the initial publication of the Notice of sale is: $3,077,624.31. In addition to cash, the


                                                                                            Denali Crew
                                                                                                                                                                                                     LOWS:                                           Trustee will accept a cashier’s check drawn on a state or national bank, a check drawn
          New 2018                                                                                                                                                                                   MARCH 5, 2019 AT 8:30 AM IN DEPT:               by a state or federal credit union, or a check drawn by a state or federal savings and
                                                                                                                                                                                                     22 801 TENTH STREET, SIXTH                      loan association, savings association or savings bank specified in Section 5102 of the Fi-

                                                                                                                                                                64,670
                                                                                                                                                                                                     FLOOR, MODESTO, CA 95354
                                                                                                                                                      $                                                                                              nancial Code and authorized to do business in this state. In the event tender other than
      1500 Ultimate Package                                                                             20” Wheels,
                                                                                                                                   MSRP
                                                                                                                                                                                                     IF YOU OBJECT to the granting of the
                                                                                                                                                                                                                                                     cash is accepted, the Trustee may withhold the issuance of the Trustee’s Deed until
                                                                                                                            Bonander
                                                                                                     Integrated Brake Discount
                                                                                                                                            $
                                                                                                                                                        -        3,970                               petition, you should appear at the hear-
                                                                                                                                                                                                     ing and state your objections or file writ-
                                                                                                                                                                                                                                                     funds become available to the payee or endorsee as a matter of right. Said sale will be
                                                                                                                                                                                                                                                     made, but without covenant or warranty, express or implied, regarding title, possession
                                                                                                   Controller, Navigation, Net Sale                                                                                                                  or encumbrances, to satisfy the indebtedness secured by said Deed of Trust, advances
                                                                                                                                                                60,700
                                                                                                                                                                                                     ten objections with the court before the
                                                                                                    4G LTE WiFi, OnStar, Price          $                                                            hearing. Your appearance may be in per-         thereunder, with interest as provided therein, and the unpaid principal balance of the
                                                                                                   Rear Back Up Camera GM Rebates $ -                                                                son or by your attorney.                        Note(s) secured by said Deed of Trust with interest thereon as provided in said Note(s),
                                                                                                      and Much More! Lease Loyalty* $ -                                  3,250                                                                       fees, charges and expenses of the trustee and the trusts created by said Deed of Trust. If
                                                                                                    1 At This Low Price.                                                 2,000                       If you are a creditor or a contingent cre-
                                                                                                                                                                                                     ditor of the decedent, you must file your
                                                                                                                                                                                                                                                     the Trustee is unable to convey title for any reason, the successful bidder’s sole and ex-
                                                                                                          #495181          Down Pay**** $ -
                                                                                                                                                                         1,000                       claim with the court and mail a copy to         clusive remedy shall be the return of monies paid to the Trustee, and the successful bid-
                                                                                                                                                                                                                                                     der shall have no further recourse. Dated: January 30, 2019 REDWOOD TRUST DEED
                                                                                                                                 Bonus Cash*              $ -
                                                                                                                                                                         1,000                       the personal representative appointed by
                                                                                                                                                                                                     the court within the later of either (1) four   SERVICES, INC., as said Trustee ATTN: ROBERT CULLEN P.O. BOX 6875 SANTA



              11,200 OFF
                                                                                                                                                                                                     months from the date of first issurance of      ROSA, CA 95406-0875 By: ROBERT CULLEN, President NOTICE TO POTENTIAL BID-

        $                                                                                        Net
                                                                                                 Sale
                                                                                              Price...
                                                                                                         $
                                                                                                                54,450                                                                               letters to a general personal represent-
                                                                                                                                                                                                     ative, as defined in section 58(b) of the
                                                                                                                                                                                                     California Probate Code, or (2) 60 days
                                                                                                                                                                                                     from the date of mailing or personal deli-
                                                                                                                                                                                                                                                     DERS: If you are considering bidding on this property lien, you should understand that
                                                                                                                                                                                                                                                     there are risks involved in bidding at a trustee auction. You will be bidding on a lien, not
                                                                                                                                                                                                                                                     on the property itself. Placing the highest bid at a trustee auction does not automatical-
                                                                                                                                                                                                                                                     ly entitle you to free and clear ownership of the property. You should also be aware that
      Prices, plus government fees and taxes, any ﬁnance charges, any document preparation charge & any emission testing charge. All vehicles subject to prior sale. Offer ends within 24            very to you of a notice under section 9052
                                                                                                                                                                                                     of the California Probate Code.                 the lien being auctioned off may be a junior lien. If you are the highest bidder at the auc-
       hours of publication. *Customer must be currently leasing a GM vehicle to qualify; **Must trade a 1999 or newer GM vehicle to qualify. *** Must own a 1999 or newer GM vehicle.               Other California statutes and legal au-         tion, you are or may be responsible for paying off all liens senior to the lien being auc-
      **** Must Finance Through GMF. Subject to credit approval. 0% APR FOR 72 MONTHS = $13.88 per month, per $1,000 borrowed with $0 down at signing. Subject to credit approval.                   thority may affect your rights as a credi-      tioned off, before you can receive clear title to the property. You are encouraged to in-
                                                                                                                                                                                                     tor. You may want to consult with an at-        vestigate the existence, priority, and size of outstanding liens that may exist on this
                                                                                                                                                                                                     torney knowledgeable in California Law.         property by contacting the county recorder’s office or a title insurance company, either
                                                                                                                                                                                                                                                     of which may charge you a fee for this information. If you consult either of these resour-
                            Ne & sed Vehicles Trucks Trailers arts & er ice
 BONANDER
                                                                                                                                                                                                                                                     ces, you should be aware that the same lender may hold more than one mortgage or
                                                                                                                                                                                                     YOU MAY EXAMINE the file kept by
                                                                                                                                                                                                                                                     deed of trust on the property. NOTICE TO PROPERTY OWNER: The sale date shown
                                BUICK, GMC & PREOWNED   RUCK & R I ER E                                                                                                                              the court. If you are a person interested in
                                                                                                                                                                                                     the estate, you may file with the court a       on this notice of sale may be postponed one or more times by the mortgagee, beneficia-
 Auto,Truck & Trailer Group   231 C                   520 N G                                                                                                                                        Request for Special Notice (form DE-            ry, trustee, or a court, pursuant to Section 2924g of the California Civil Code. The law re-

                                                                         209/250-3613                                                  209/250-3883                                                  154) of the filing of an inventory and ap-
                                                                                                                                                                                                     praisal of estate assets or of any petition
                                                                                                                                                                                                                                                     quires that information about trustee sale postponements be made available to you and
                                                                                                                                                                                                                                                     to the public, as a courtesy to those not present at the sale. If you wish to learn whether
                                                                                                                                                                                                     or account as provided in Probate Code          your sale date has been postponed, and, if applicable, the rescheduled time and date for
                                                                                                                                                                                                     section 1250. A Request for Special No-
                                                                                                                                                                                                                                                     the sale of this property, you may call (714) 730-2727 or visit this Internet Web site: www
                                                                                                                                                                                                     tice form is available from the court clerk.
                                                                                                                                                                                                     Attorney for Petitioner GINA B.                 .servicelinkASAP.com, using the Trustee Sale number assigned to this file, T.S. #18129-
                                                                                                                                                                                                     LEGURIA                                         PB. Information about postponements that are very short in duration or that occur close
                             See Our Entire Inventory Of Vehicles & Trailers Online 24/7...                                                                                                          1050 N. CARPENTER ROAD, SUITE H
                                                                                                                                                                                                     MODESTO, CA 95351
                                                                                                                                                                                                                                                     in time to the scheduled sale may not immediately be reflected in the telephone infor-
                                                                                                                                                                                                                                                     mation or on the Internet Web site. The best way to verify postponement information is

  For Vehicles bonanderbuickgmc.com For Trailers bonandertrailer.com                                                                                                                                 (209) 416-0353                                  to attend the scheduled sale. A-4683637 02/08/2019, 02/15/2019, 02/22/2019
                                                                                                                                                                  MOD0




                                                                                                                                                                                                     Pub Dates 2/10, 2/15, 2/20                      MOD-4069115 2/8, 15, 22

                                                                  Case: 19-30088                                          Doc# 522-7                                Filed: 02/20/19                              Entered: 02/20/19 18:38:39                                     Page 3
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